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                    IN THE UNITED STATES DISTRICT COURT FOR
                           NORTHERN DISTRICT OF FLORIDA
                                      (Gainesville Division)


UNITED STATES OF AMERICA )
                              )
            v.                )                                Docket No. 1:04CR10-007(S)
                              )
MARCIA THURMAN                )
______________________________)

                                      ORDER
       This matter is before the Court on a petition alleging that the defendant violated the

conditions of her probation as outlined in Probation Form 12C filed with the Clerk of the U. S.

District Court for the Northern District of Florida, on October 24, 2006.

       The defendant pled No Contest to the violations as outlined in the petition and the Court

finds that the defendant violated the terms and conditions of her probation.

       IT IS HEREBY ORDERED that the defendant be continued on supervision under the same

terms and conditions. The defendant shall return to the Court at 1:30 p.m. on June 4, 2007 to

address compliance to supervision from this date. All other terms and conditions previously

imposed shall remain in full force and effect.

       DONE AND ORDERED this 27th day of December, 2006.


                                                   s/ Stephan P. Mickle
                                                 Stephan P. Mickle
                                                 United States District Judge
